                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )   CASE NO. 3:13-00003-3
                                                 )   JUDGE SHARP
BRYAN ADAMS                                      )
                                                 )

                                            ORDER


         A hearing on a plea of guilty in this matter is hereby scheduled for Monday, March 25,

2013, at 3:30 p.m.

         It is so ORDERED.



                                              KEVIN H. SHARP
                                              UNITED STATES DISTRICT JUDGE




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